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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
vs.

ANTHONY PAUL SHAW,

~_,~_/~._/~_/-_/-_/~_/~_»~._,

Defendant.

W.r;), oi= T:¢, atm-115

CR. NO. O3-20249-Ma

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense

counsel requested a continuance of the present trial date in order

to allow for additional preparation in the case.

The Court granted the request and continued the trial to the

rotation docket beginning August l, 2005 at 9:30 a.m., with a

report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 3l, 2005 through August l2,

2005 is

excludable under 18 U.S.C. § 3l6l(h)(8){B)(iv) because the

interests of justice in allowing additional time

outweigh the need for a speedy trial.

/3#`

IT IS SO ORDERED this

day of June, 2005.

to prepare

y///'w/L___

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 138 in
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June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

